          Case 3:24-cv-06553-JSC          Document 20-1   Filed 11/12/24   Page 1 of 35



 1   Stephanie Sheridan (CA 135910)
     Meegan B. Brooks (CA 298570)
 2   Nicolette Shamsian (CA 341466)
 3   Benesch, Friedlander, Coplan & Aronoff LLP
     100 Pine Street, Suite 3100
 4   San Francisco, California 94111
     Telephone:     628.600.2250
 5   Facsimile:     628.221.5828
     ssheridan@beneschlaw.com
 6
     mbrooks@beneschlaw.com
 7   nshamsian@beneschlaw.com

 8   Attorneys for Defendant Safeway, Inc.

 9                             IN THE UNITED STATES DISTRICT COURT
10                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
      MICHAEL TEMPEST, LADIAMOND                      Case No. 4:24-cv-06553-JSC
12    HARVEY, SARAH MCGREGOR
      HORNER, and BRIONNA BROUHARD, on                DECLARATION OF KEVIN MICHAEL IN
13    behalf of themselves and all others similarly   SUPPORT OF DEFENDANT SAFEWAY
      situated,                                       INCS MOTION TO COMPEL
14                                                    ARBITRATION OF PLAINTIFFS CLASS
                            Plaintiffs,               ACTION COMPLAINT
15
             v.                                       Date:       January 23, 2025
16
                                                      Time:       10:00 a.m.
17    SAFEWAY, INC.,

18                          Defendants.

19

20

21

22

23

24

25

26

27

28

        DECLARATION OF KEVIN MICHAEL IN SUPPORT OF DEFENDANT SAFEWAY INCS MOTION TO
                 COMPEL ARBITRATION OF PLAINTIFFS CLASS ACTION COMPLAINT
                                   Case No. 4:24-cv-06553-JSC
           Case 3:24-cv-06553-JSC           Document 20-1        Filed 11/12/24     Page 2 of 35



 1          I, Kevin Michael, declare as follows:
 2          1.      I am in the Merchandising Department with Albertsons Companies, Inc. (ACI), parent
 3   company of Safeway Inc. (Safeway) and Randalls Food & Drugs LP (Randalls) amongst other
 4   subsidiaries (collectively, Albertsons Companies Entities). The Merchandising Department provides
 5   services to all Albertsons Companies Entities including Safeway and Randalls. I have been employed by
 6   an ACI related entity since 1993. My title is Director of Loyalty & Division Support. I have been in this
 7   role since 2013. In my position, I am knowledgeable about Safeways loyalty program, called Safeway
 8   for U, and Randalls loyalty program, called Randalls for U. I am also familiar with the Terms of Use
 9   with respect to Safeways and Randalls for U loyalty programs, and the checkout process for online
10   purchases made at www.Safeway.com, in addition to similar rewards programs and services provided by
11   Albertsons other brands.
12          2.      I am over the age of 18 and competent to testify to matters in this Declaration. I make this
13   Declaration on the basis of my personal knowledge and my review of the Albertsons Companies Entities
14   business records (ACI Business Records). To the extent this declaration is based upon my review of
15   ACI Business Records, I understand those records are kept in the regular course of business, entries are
16   made on those records in a timely manner by people with knowledge of the information being entered,
17   and it is the Albertsons Companies Entities regular business practice to maintain such records. If called
18   as a witness, I could competently testify to the matters stated herein.
19          3.      Safeway is a grocery chain that operates its supermarkets, distribution centers,
20   manufacturing plants, and business offices, in a number of different states, California included. Safeways
21   stores, offices, plants, and operations in California receive their resalable merchandise, and other goods
22   and services necessary for its business operations, from vendors, suppliers, contractors, service providers,
23   and others that are located both in California and outside of California.
24                                       Safeway For U Loyalty Program
25          4.      Safeways loyalty program, Safeway for U, provides discounts on products for sale in
26   Safeway stores and online at www.Safeway.com. Randalls loyalty program, Randalls for U, provides
27   discounts for sale in Randalls stores and online at www.Randalls.com, but the member is also entitled to
28   use its for U membership to obtain discounts on products for sale in Safeway stores and online at
                                                    2
         DECLARATION OF KEVIN MICHAEL IN SUPPORT OF DEFENDANT SAFEWAY INCS MOTION TO
                  COMPEL ARBITRATION OF PLAINTIFFS CLASS ACTION COMPLAINT
                                    Case No. 4:24-cv-06553-JSC
           Case 3:24-cv-06553-JSC          Document 20-1        Filed 11/12/24     Page 3 of 35



 1   www.Safeway.com.
 2          5.       Customers can join the Safeway for U and Randalls for U loyalty programs by signing up
 3   for an account. There is no charge to a customer to create a Safeway for U or Randalls for U account or
 4   to receive the discounts and promotions offered through either program.
 5          6.       Contractual terms of use (the Terms of Use) apply to both Safeway for U and Randalls
 6   for U accounts.
 7                                       May 2024 Update to Terms of Use
 8          7.       On May 6, 2024, Albertsons Companies, Inc. updated the Terms of Use for all customers
 9   across all of its banners, including Safeway and Randalls. A true and correct copy of the updated Terms
10   of Use is attached hereto as Exhibit A.
11          8.       The updated Terms of Use, with the statement therein Last Updated: May 6, 2024, are
12   found at: https://www.albertsonscompanies.com/policies-and-disclosures/terms-of-use/default.aspx (the
13   Terms Page).
14                                              Notification Email
15          9.       In early May 2024 (on or after May 6, 2024), Safeway for U members were sent an e-mail
16   notifying them the Terms of Use had been updated. Other banner for U members, including Randalls
17   for U, received an email containing the same notice. (Collectively referred to as the Email.) The subject
18   line for the Email was: Weve Updated Our Terms of Use. True and correct copies of the Email sent
19   under the Safeway banner and under the Randalls banner are attached hereto as Exhibits B-1 and B-2,
20   respectively.
21          10.      The Email states:
22                   At Albertsons Companies, were committed to the best possible experience for
                     our customers. Thats why were letting you know that we have updated our
23                   Terms of Use. These terms apply to new customers immediately and are
                     effective from May 6, 2024 for our continuing customers. Our Terms of Use
24                   contain important information about your relationship with us, including that
                     disputes between us will be arbitrated, instead of class actions or jury trials.
25
                     We encourage you to regularly review our Terms of Use.
26

27   //
28   //
                                                          3
          DECLARATION OF KEVIN MICHAEL IN SUPPORT OF DEFENDANT SAFEWAY INCS MOTION TO
                   COMPEL ARBITRATION OF PLAINTIFFS CLASS ACTION COMPLAINT
                                     Case No. 4:24-cv-06553-JSC
          Case 3:24-cv-06553-JSC          Document 20-1       Filed 11/12/24     Page 4 of 35



 1          11.    Immediately after the sentence, We encourage you to regularly review our Terms of Use,
 2   the Email includes a hyperlink box as shown below, with the statement: View Terms of Use:
 3

 4

 5

 6   By clicking anywhere within the hyperlink box, the user is automatically directed to the Terms of Use at

 7   the Terms Page (Exhibit A hereto).

 8          12.    The Terms of Use may also be viewed by visiting www.Safeway.com, or other ACI banner

 9   websites including www.randalls.com, and clicking on Terms of Use under Policies & Disclosures,

10   at the bottom of the home page. The user is then re-directed to the Terms Page.

11                                         Terms of Use-Arbitration

12          13.    The Terms of Use include an arbitration provision (the Arbitration Provision).

13          14.    The Terms of Use begin with the following advisory:

14                 ATTENTION: THESE TERMS OF USE CONTAIN A MANDATORY
                   ARBITRATION PROVISION THAT, AS FURTHER ADDRESSED
15                 IN SECTION 24 BELOW AND OUR DISPUTE RESOLUTION
                   TERMS REQUIRES THE USE OF ARBITRATION ON AN INDIVIDUAL
16                 BASIS TO RESOLVE DISPUTES. THIS MEANS THAT YOU AND THE
                   COMPANY (AS DEFINED BELOW) ARE EACH GIVING UP THE RIGHT
17                 TO SUE EACH OTHER IN COURT OR IN CLASS ACTIONS OF ANY
                   KIND. IN ARBITRATION, THERE IS NO JUDGE OR JURY.
18
            15.    Section 24 of the Terms of Use, titled Binding Individual Arbitration; Class-Action
19
     Waiver, begins as follows:
20
                   ALL CLAIMS ARISING FROM OR RELATED TO YOUR ACCOUNT,
21                 ACCESS TO OR USE OF THE COMPANYS SERVICES, PURCHASES
                   FROM THE COMPANY; THE USE OF YOUR INFORMATION BY OR FOR
22                 THE COMPANY, ANY ASPECT OF YOUR RELATIONSHIP OR
                   INTERACTIONS WITH THE COMPANY ARE SUBJECT TO
23                 THESE DISPUTE RESOLUTION TERMS, UNLESS YOU OPT OUT OR
                   ANOTHER EXCEPTION APPLIES. THESE DISPUTE RESOLUTION
24                 TERMS CONTAIN PROCEDURES THAT APPLY TO MASS
                   ARBITRATION.
25
                   WITH LIMITED EXCEPTIONS YOU AND THE COMPANY MAY NOT
26                 SUE IN COURT, HAVE A TRIAL BY JURY, OR PARTICIPATE IN A
                   CLASS ACTION. YOU AND THE COMPANY AGREE THAT
27                 ARBITRATION WILL BE SOLELY ON AN INDIVIDUAL BASIS AND
                   NOT AS A CLASS ARBITRATION, CLASS ACTION, OR ANY OTHER
28                 KIND OF REPRESENTATIVE PROCEEDING, UNLESS OTHERWISE
                                            4
        DECLARATION OF KEVIN MICHAEL IN SUPPORT OF DEFENDANT SAFEWAY INCS MOTION TO
                 COMPEL ARBITRATION OF PLAINTIFFS CLASS ACTION COMPLAINT
                                   Case No. 4:24-cv-06553-JSC
          Case 3:24-cv-06553-JSC          Document 20-1        Filed 11/12/24      Page 5 of 35



 1                  PROVIDED IN THESE TERMS. THE COMPANY AND YOU ARE EACH
                    WAIVING THE RIGHT TO TRIAL BY A JURY.
 2
                    FOLLOW THE INSTRUCTIONS IN THE DISPUTE RESOLUTION
 3                  TERMS IF YOU WISH TO OPT OUT OF THE REQUIREMENT TO
                    ARBITRATE ON AN INDIVIDUAL BASIS.
 4

 5            16.   The referenced Dispute Resolution Terms provides additional details about the
 6   arbitration procedures, under the heading Albertsons Companies Dispute Resolution Terms:
 7                  PER SECTION 24 OF THE COMPANYS TERMS OF USE, ALL CLAIMS
                    ARISING FROM OR RELATED TO YOUR ACCOUNT, ACCESS TO OR
 8                  USE OF THE COMPANYS SERVICES, PURCHASES FROM THE
                    COMPANY; THE USE OF YOUR INFORMATION BY OR FOR THE
 9                  COMPANY, ANY ASPECT OF YOUR RELATIONSHIP OR
                    INTERACTIONS WITH THE COMPANY ARE SUBJECT TO THESE
10                  DISPUTE RESOLUTION TERMS, UNLESS YOU OPT OUT OR ANOTHER
                    EXCEPTION APPLIES. THESE DISPUTE RESOLUTION TERMS
11                  CONTAIN PROCEDURES THAT APPLY TO MASS ARBITRATION.
12                  WITH LIMITED EXCEPTIONS, YOU AND THE COMPANY MAY NOT
                    SUE IN COURT, HAVE A TRIAL BY JURY, OR PARTICIPATE IN A
13                  CLASS ACTION. YOU AND THE COMPANY AGREE THAT
                    ARBITRATION WILL BE SOLELY ON AN INDIVIDUAL BASIS AND
14                  NOT AS A CLASS ARBITRATION, CLASS ACTION, OR ANY OTHER
                    KIND OF REPRESENTATIVE PROCEEDING, UNLESS OTHERWISE
15                  PROVIDED IN THESE TERMS. THE COMPANY AND YOU ARE EACH
                    WAIVING THE RIGHT TO TRIAL BY A JURY.
16
                    FOLLOW THE INSTRUCTIONS BELOW IF YOU WISH TO OPT OUT OF
17                  THE REQUIREMENT TO ARBITRATE ON AN INDIVIDUAL BASIS.
18                                            Arbitration Opt-Out
19            17.   The Section entitled Albertsons Companies Dispute Resolution Terms describes how
20   customers can opt-out of the Arbitration Provision (the Opt-Out Process).
21            18.   The Opt-Out Process describes, in part, that customers have a right to opt out of the
22   Arbitration Provision within 30 days of their first purchase from the Company after the date of the Terms
23   of Use (that date being May 6, 2024).
24            19.   Loyalty members, whether Safeway for U, Randalls for U, or other ACI banner for U
25   member, can opt out by going online at https://www.safeway.com/inquiry/contact-us.html and selecting
26   Other in the Topic drop down and typing Arbitration Opt-Out in the comments, or by sending written
27   notice of their decision to opt out to the following address: M.S. 10501 P.O. Box 29093, Phoenix, AZ
28   85038.
                                                        5
        DECLARATION OF KEVIN MICHAEL IN SUPPORT OF DEFENDANT SAFEWAY INCS MOTION TO
                 COMPEL ARBITRATION OF PLAINTIFFS CLASS ACTION COMPLAINT
                                   Case No. 4:24-cv-06553-JSC
           Case 3:24-cv-06553-JSC          Document 20-1        Filed 11/12/24    Page 6 of 35



 1           20.     Under the Dispute Resolution Terms, such notice must include the name of each person
 2   opting out and contact information for each such person and any relevant Membership or purchase
 3   information.
 4                            No Arbitration Opt-Out Received by any of the Plaintiff
 5           21.     Albertsons Companies Entities have no record of receiving an Arbitration Opt-Out from
 6   any of the Plaintiffs.
 7                            Plaintiffs Loyalty Accounts and Purchase Transactions
 8           22.     I understand the ACI Business Records have been searched for purchase transactions made
 9   by Plaintiff Michael Tempest, Plaintiff LaDiamond Harvey, Plaintiff Sarah McGregor Horner, and
10   Plaintiff Brionna Brouhard (Plaintiffs).
11           23.     The ACI Business Records show that only one Safeway for U account matches the name
12   Michael Tempest. The last four digits of the number for this account (called a Club Card number) are
13        , and the account is associated with the email address                          . This account was
14   opened on November 8, 2010 and has been used in 64 unique transactions to purchase 1,161 products
15   since May 9, 2024.
16           24.     The ACI Business Records show that two Safeway for U accounts match the name
17   LaDiamond Harvey. Both accounts are associated with the email address                               , and
18   the same mailing address. One of the accounts, ending in         was opened on July 25, 2012. The other
19   account, ending in         was opened on August 4, 2024. The account ending in          has been used in
20   one transaction to purchase five products since May 9, 2024.
21           25.     The ACI Business Records show that a Randalls for U account exists under the name
22   Sarah McGregor. The last four digits of the number for this account are      and the account is associated
23   with the email address                       . This account was opened on August 31, 2006 and has been
24   used in two unique transactions to purchase 38 products since May 7, 2024.
25   //
26   //
27   //
28   //
                                                         6
          DECLARATION OF KEVIN MICHAEL IN SUPPORT OF DEFENDANT SAFEWAY INCS MOTION TO
                   COMPEL ARBITRATION OF PLAINTIFFS CLASS ACTION COMPLAINT
                                     Case No. 4:24-cv-06553-JSC
          Case 3:24-cv-06553-JSC          Document 20-1         Filed 11/12/24     Page 7 of 35



 1          26.    The ACI Business Records show that only one Safeway for U account matches the name
 2   Brionna Brouhard. The last four digits of the number for this account are              and the account is
 3   associated with the email address                    . This account was opened on July 17, 2012 and has
 4   been used in 31 unique transactions to purchase 214 products since May 8, 2024.
 5          I declare under penalty of perjury under the laws of the United States of America that the foregoing
 6   is true and correct. Executed on November 12, 2024.
 7

 8

 9

10                                                           Kevin Michael

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                         7
        DECLARATION OF KEVIN MICHAEL IN SUPPORT OF DEFENDANT SAFEWAY INCS MOTION TO
                 COMPEL ARBITRATION OF PLAINTIFFS CLASS ACTION COMPLAINT
                                   Case No. 4:24-cv-06553-JSC
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 8 of 35




          Exhibit A
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 9 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 10 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 11 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 12 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 13 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 14 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 15 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 16 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 17 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 18 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 19 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 20 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 21 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 22 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 23 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 24 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 25 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 26 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 27 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 28 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 29 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 30 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 31 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 32 of 35




           Exhibit B
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 33 of 35
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 34 of 35




           Exhibit B
Case 3:24-cv-06553-JSC   Document 20-1   Filed 11/12/24   Page 35 of 35
